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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

 KRISTOFER SMITH,
   Plaintiff(s),

    v.                                            CASE NO: 8:11-cv-239-T-26TBM

 VIKING COLLECTION SERVICE, INC.,
      Defendant(s).
                            /

                Plaintiff’s Notice of Voluntary Dismissal with Prejudice

          COMES NOW the Plaintiff, KRISTOFER SMITH, through and by his
 undersigned attorney, voluntarily discontinues the above entitled action and dismisses the
 Complaint with prejudice.


 Dated:        June 15, 2011                 Respectfully submitted,


                                                    /s/ G. Donald Golden
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